                                                                                                                                                                     AMENDED
                                  Case 6:18-bk-03807-CCJ                       Doc 9             Filed 07/17/18               Page 1 of 6

 Fill in this information to identify your case:

                     Benjamin C. Overbey
 Debtor 1          __________________________________________________________________
                     First Name                 Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Middle District of Florida District of __________

                                                                                                                                                      
                                                                                       (State)
 Case number          6:18-bk-03807
                     ___________________________________________                                                                                      ✔ Check if this is an
  (If known)
                                                                                                                                                           amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                  4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     ✔ You are claiming state and federal nonbankruptcy exemptions.                   11 U.S.C. § 522(b)(3)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the                       Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own                            exemption you claim

                                                              Copy the value from                        Check only one box
                                                              Schedule A/B                               for each exemption


                                                                                                  
                 4116 N. Mira Blvd.                                                                                                     Fla. Stat. Ann. § 222.05, 222.02,
 Brief                                                                325,000.00                                                        222.03
                                                                     $________________            ✔ $ ____________
                                                                                                      36,841.00
                                                                                                   100% of fair market value, up to
 description:

 Line from                                                                                             any applicable statutory limit
 Schedule A/B:        1.1


                                                                                                   $ ____________
                 Household goods - Furniture, misc. household                                                                           In re Hawkins, 51 B.R. 348 (S.D. Fla.
 Brief           goods                                                                                                                  1985) Fla. Const. Art.10, § 4
                                                                     $________________
                                                                       450.00                         450.00
                                                                                                    100% of fair market value, up to
                                                                                                   ✔
 description:
 Line from                                                                                             any applicable statutory limit
 Schedule A/B:          6

                                                                                                  
                 Electronics - TVs, DVD player, misc. electronics                                                                       In re Hawkins, 51 B.R. 348 (S.D. Fla.
 Brief                                                                                                                                  1985) Fla. Const. Art.10, § 4
                                                                     $________________
                                                                       200.00                     ✔ $ ____________
                                                                                                      200.00
                                                                                                    100% of fair market value, up to
 description:

 Line from                                                                                             any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     
     ✔     No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          
          
                  No
                  Yes



Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                                 2
                                                                                                                                                                 page 1 of __
                                                                                                                                                                  AMENDED
                            Case 6:18-bk-03807-CCJ Doc 9                                       Filed 07/17/18            Page 2 of 6
Debtor           Benjamin C. Overbey
                _______________________________________________________                                                        6:18-bk-03807
                                                                                                       Case number (if known)_____________________________________
                First Name      Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                    Amount of the                        Specific laws that allow exemption
                                                                        Current value of the      exemption you claim
         on Schedule A/B that lists this property                       portion you own
                                                                       Copy the value from       Check only one box
                                                                        Schedule A/B              for each exemption
               Sports and hobby equipment - Golf clubs, fishing pole,

                                                                                                  
                                                                                                                                        In re Hawkins, 51 B.R. 348 (S.D. Fla.
Brief        misc. sports equipment
                                                                         100.00                                                         1985) Fla. Const. Art.10, § 4
                                                                        $________________             100.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
description:
Line from                                                                                             any applicable statutory limit
Schedule A/B:          9


                                                                                                  
               Clothing - Men's work clothes, shorts, jeans, misc.                                                                      In re Hawkins, 51 B.R. 348 (S.D. Fla.
Brief          clothing                                                 $________________
                                                                         100.00                   ✔ $ ____________
                                                                                                      100.00                            1985) Fla. Const. Art.10, § 4
                                                                                                   100% of fair market value, up to
description:

                                                                                                     any applicable statutory limit
Line from
Schedule A/B:         11


                                                                                                  
               Cash (Cash On Hand)                                                                                                      In re Hawkins, 51 B.R. 348 (S.D. Fla.
Brief                                                                                                                                   1985) Fla. Const. Art.10, § 4
                                                                        $________________
                                                                         10.00                    ✔ $ ____________
                                                                                                      10.00
                                                                                                    100% of fair market value, up to
description:

Line from                                                                                             any applicable statutory limit
Schedule A/B:        16


                                                                                                  
               Regions Bank (Checking)                                                                                                  In re Hawkins, 51 B.R. 348 (S.D. Fla.
Brief                                                                                                                                   1985) Fla. Const. Art.10, § 4
description:                                                            $________________
                                                                         2,500.00                 ✔ $ ____________
                                                                                                      140.00
                                                                                                    100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:           17.1


                                                                                                   $ ____________
Brief
description:                                                            $________________
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:

                                                                                                   $ ____________
Brief
                                                                        $________________
                                                                                                    100% of fair market value, up to
description:

Line from                                                                                             any applicable statutory limit
Schedule A/B:

                                                                                                   $ ____________
Brief
                                                                        $________________
                                                                                                    100% of fair market value, up to
description:
Line from                                                                                             any applicable statutory limit
Schedule A/B:

                                                                                                   $ ____________
Brief
                                                                        $________________
                                                                                                    100% of fair market value, up to
description:

                                                                                                      any applicable statutory limit
Line from
Schedule A/B:

                                                                                                   $ ____________
Brief
                                                                        $________________
                                                                                                   100% of fair market value, up to
description:

Line from                                                                                            any applicable statutory limit
Schedule A/B:

                                                                                                   $ ____________
Brief
                                                                        $________________
                                                                                                   100% of fair market value, up to
description:
Line from                                                                                             any applicable statutory limit
Schedule A/B:

                                                                                                   $ ____________
Brief
                                                                        $________________
                                                                                                   100% of fair market value, up to
description:
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:

                                                                                                   $ ____________
Brief
                                                                        $________________
                                                                                                   100% of fair market value, up to
description:

Line from                                                                                             any applicable statutory limit
Schedule A/B:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                         page ___ of __ 2
                                                                                                                                                      AMENDED
                                            Case 6:18-bk-03807-CCJ                Doc 9       Filed 07/17/18                Page 3 of 6

Fill in this information to identify your case:

Debtor 1           Benjamin C. Overbey
                  __________________________________________________________________
                    First Name                   Middle Name          Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name          Last Name


                                        ______________________
United States Bankruptcy Court for the:Middle District of Florida District of __________
                                                                                  (State)
Case number         6:18-bk-03807
                    ___________________________________________

                                                                                                                                           Check if this is an
(If known)
                                                                                                                                          ■

                                                                                                                                              amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                         12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
       
       ✔

             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                 Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Benjamin C. Overbey
          ______________________________________________             _____________________________
         Signature of Debtor 1                                           Signature of Debtor 2


              07/17/2018
         Date _________________                                          Date _________________
                MM /    DD       /   YYYY                                         MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules
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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

IN RE:

BENJAMIN C. OVERBEY,                                            Case No.: 6:18-bk-03807-CCJ
                                                                Chapter 7
      Debtor.
_________________________/


                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this the 17th of July, 2018, a true and correct copy of the foregoing

Amended Schedule C and Amended Declaration About An Individual Debtor's Schedules was

been provided via U.S. Mail or via electronic means to all creditors and parties of interest as

listed on the matrix attached hereto.


                                           /s/ Matthew R. Gross
                                           MATTHEW R. GROSS, J.D.
                                           Florida Bar No.: 49863
                                           Attorney for Debtor
                                           Matthew R. Gross, J.D., P.A.
                                           1101 Douglas Avenue
                                           Altamonte Springs, FL 32714
                                           Telephone: (407) 403-5936
                                           Facsimile: (407) 842-7248
                                           mrg@first.law
Label Matrix for local noticing Case 6:18-bk-03807-CCJ        Doc 9 Filed 07/17/18
                                              Benjamin C. Overbey                    Page
                                                                                       Bk Of5Amer
                                                                                              of 6
113A-6                                        4116 N. Mira Blvd.                       450 American St
Case 6:18-bk-03807-CCJ                        Orlando, FL 32817-1534                   Simi Valley, CA 93065-6285
Middle District of Florida
Orlando
Mon Jul 16 10:50:59 EDT 2018
Bk Of Amer                                    Bk Of Amer                               (p)BMW FINANCIAL SERVICES
Po Box 1598                                   Pob 17054                                CUSTOMER SERVICE CENTER
Norfolk, VA 23501-1598                        Wilmington, DE 19884-0001                PO BOX 3608
                                                                                       DUBLIN OH 43016-0306


Cap1/Bstby                                 Cbna                                        (p)CITIBANK
Po Box 5253                                133200 Smith Rd                             PO BOX 790034
Carol Stream, IL 60197-5253                Cleveland, OH 44130                         ST LOUIS MO 63179-0034



Cbna                                       Chase Card                                  Florida Department of Revenue
Po Box 6003                                Po Box 15298                                Bankruptcy Unit
Hagerstown, MD 21747                       Wilmington, DE 19850-5298                   Post Office Box 6668
                                                                                       Tallahassee FL 32314-6668


Gm Financial                               Internal Revenue Service                    Nationstar/Mr. Cooper
Po Box 181145                              Post Office Box 7346                        350 Highland Dr
Arlington, TX 76096-1145                   Philadelphia PA 19101-7346                  Lewisville, TX 75067-4177



Nissan Motor Acceptanc                     Orange County Tax Collector                 Region/Ams
Po Box 660360                              PO Box 545100                               Po Box 11007
Dallas, TX 75266-0360                      Orlando FL 32854-5100                       Birmingham, AL 35288-0001



Region/Ams                                 Syncb/Carecr                                Syncb/Ccmnmc
Po Box 216                                 C/O Po Box 965036                           C/O Po Box 965036
Birmingham, AL 35201-0216                  Orlando, FL 32896-0001                      Orlando, FL 32896-0001



Syncb/Hdhvac                               Syncb/Jwac                                  Syncb/Sounda
C/O Po Box 965036                          C/O P.O. Box 965036                         C/O Po Box 965036
Orlando, FL 32896-0001                     Orlando, FL 32896-5036                      Orlando, FL 32896-0001



Syncb/Tjx                                  Td Bank Usa/Targetcred                      Tdaf
Po Box 965015                              Po Box 673                                  27777 Franklin Rd
Orlando, FL 32896-5015                     Minneapolis, MN 55440-0673                  Southfield, MI 48034-2337



Wells Fargo Financial                      Wf Crd Svc                                  Wf Pll
Po Box 10475                               Po Box 14517                                Po Box 10438
Des Moines, IA 50306-0475                  Des Moines, IA 50306-3517                   Des Moines, IA 50306-0438
Marie E. Henkel +               Case 6:18-bk-03807-CCJ        Doc -9ORL7/13
                                              United States Trustee    Filed+ 07/17/18                  Page   6 of
                                                                                                          Matthew    6 +
                                                                                                                  R Gross
3560 South Magnolia Avenue                            Office of the United States Trustee                  Matthew R Gross, J.D., PA
Orlando, FL 32806-6214                                George C Young Federal Building                      1101 Douglas Ave.
                                                      400 West Washington Street, Suite 1100               Altamonte Springs, FL 32714-2033
                                                      Orlando, FL 32801-2210



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bmw Financial Services                                Cbna
5515 Parkcenter Cir                                   50 Northwest Point Road
Dublin, OH 43017                                      Elk Grove Village, IL 60007




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Syncb/Ashhom                                       (u)Cynthia C. Jackson +                              (u)Note: Entries with a ’+’ at the end of the
                                                      Orlando                                              name have an email address on file in CMECF
                                                                                                           -------------------------------------------
                                                                                                           Note: Entries with a ’-’ at the end of the
                                                                                                           name have filed a claim in this case

End of Label Matrix
Mailable recipients      32
Bypassed recipients       3
Total                    35
